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       EXHIBIT 30
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English, Andrew

From:                             Stern, David <David.Stern@dechert.com>
Sent:                             Thursday, December 12, 2019 4:22 PM
To:                               English, Andrew
Cc:                               Spjute, Alex; Gottlieb, Michael; Hall, Samuel
Subject:                          RE: Aaron Rich Subpoena

FilingDate:                       12/12/2019 9:55:00 PM



Andrew,

Your summary of our call is substantively accurate. As we discussed, we are in the process of
reviewing Ms. Zimmerman’s documents and intend to produce responsive documents on a rolling
basis. We will endeavor to make an initial production by December 16, but that will likely not occur
until the following week as Fox also needs to review the production for privilege. Of course, any
relevant documents withheld on an assertion of privilege will be logged as such, and the log provided
to you.

With respect to your intent to subpoena Ms. Zimmerman for deposition, we understand you have
pushed for an accelerated discovery and trial schedule in Mr. Rich’s lawsuit and have upcoming
deadlines. But should you proceed to subpoena Ms. Zimmerman for deposition, we want you to be
aware that we will move, together with Fox, for a protective order/motion to quash as we believe the
bulk of any testimony sought from Ms. Zimmerman will involve privileged conversations and material
made in the course of newsgathering, which conversations and materials would be subject to the
reporter’s privilege.



David H. Stern
Partner

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From: English, Andrew [mailto:AEnglish@willkie.com]
Sent: Tuesday, December 10, 2019 9:00 PM
To: Stern, David <David.Stern@dechert.com>
Cc: Spjute, Alex <Alex.Spjute@dechert.com>; Gottlieb, Michael <MGottlieb@willkie.com>; Hall, Samuel
<SHall@willkie.com>
Subject: RE: Aaron Rich Subpoena

David,

Thank you for the call yesterday. This email summarizes the substance of that call. With respect to Request No. 1 in the
document subpoena served on Ms. Malia Zimmerman, we agreed that Ms. Zimmerman will produce from December
2016 to present all non-privileged communications Ms. Zimmerman had with Messrs. Edward Butowsky, Matthew
Couch, Ty Clevenger, and/or Rod Wheeler that relate to or reference Seth Rich or Aaron Rich. For any documents
withheld in full or in part on the basis of a claim of privilege, you will produce a privilege log.
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With respect to Request No. 3, we agreed that Ms. Zimmerman will produce any non-privileged Communications with
Mr. Butowsky that post-date publication of the Retracted Article and that relate to the Retracted Article or the subject
matter of the Retracted Article. For any documents withheld in full or in part on the basis of a claim of privilege, you will
produce a privilege log.

With respect to Request No. 4, we agreed that Ms. Zimmerman will produce any non-privileged Communications Ms.
Zimmerman had with Messrs. Butowsky, Couch, Clevenger, and/or Wheeler related to the case Aaron Rich v. Edward
Butowsky, No. 1:18-cv-00681-RJL. For any documents withheld in full or in part on the basis of a claim of privilege, you
will produce a privilege log.

Based on this agreement, we agreed to withdraw Request No. 2 in the subpoena if we receive the documents as
described above. We agreed that production would begin on a rolling basis, with some documents produced by
December 16, and with production completed by the end of December.

We also raised that we intend to serve a deposition subpoena on Ms. Zimmerman and were targeting January 13 for the
deposition. You stated that you would check with your client to see if you could accept service on her behalf and if that
date would work for her. As we discussed on our call, we are willing to confer with you to find a date that works for
your and our schedule. If we do not hear from you by Friday morning (Eastern) as to whether you can accept service of
a deposition subpoena on Ms. Zimmerman’s behalf, we intend to serve Ms. Zimmerman to preserve our right to depose
her. We will remain open to meeting and conferring on a date acceptable to your and our schedule.

Kind Regards,

Andrew



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From: English, Andrew
Sent: Wednesday, December 04, 2019 4:54 PM
To: 'Stern, David' <David.Stern@dechert.com>; Gottlieb, Michael <MGottlieb@willkie.com>
Cc: Joe Terry (jterry@wc.com) <jterry@wc.com>; Spjute, Alex <Alex.Spjute@dechert.com>
Subject: RE: Aaron Rich Subpoena

Thank you, David. I will circulate a calendar invite and dial-in for 2:00 p.m. Eastern on Monday.

Andrew


Andrew English
Willkie Farr & Gallagher LLP
1875 K Street, N.W. | Washington, DC 20006-1238


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From: Stern, David [mailto:David.Stern@dechert.com]
Sent: Wednesday, December 04, 2019 1:41 PM
To: English, Andrew <AEnglish@willkie.com>; Gottlieb, Michael <MGottlieb@willkie.com>
Cc: Joe Terry (jterry@wc.com) <jterry@wc.com>; Spjute, Alex <Alex.Spjute@dechert.com>
Subject: RE: Aaron Rich Subpoena

Thanks, Andrew. We are available on Monday, December 9 between 2 and 3 p.m. EST and then after
5:00 p.m. EST.

David


David H. Stern
Partner

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From: English, Andrew [mailto:AEnglish@willkie.com]
Sent: Wednesday, December 4, 2019 7:01 AM
To: Stern, David <David.Stern@dechert.com>; Gottlieb, Michael <MGottlieb@willkie.com>
Cc: Joe Terry (jterry@wc.com) <jterry@wc.com>; Spjute, Alex <Alex.Spjute@dechert.com>
Subject: RE: Aaron Rich Subpoena

Mr. Stern:

Following up on this email. Could you let us know your availability today, tomorrow, and Monday for a call to meet and
confer on the subpoena?

Thanks,

Andrew


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From: English, Andrew
Sent: Tuesday, November 26, 2019 6:22 PM
To: 'Stern, David' <David.Stern@dechert.com>; Gottlieb, Michael <MGottlieb@willkie.com>
Cc: Joe Terry (jterry@wc.com) <jterry@wc.com>; Spjute, Alex <Alex.Spjute@dechert.com>
Subject: RE: Aaron Rich Subpoena

Mr. Stern:

Thank you for your email. We do not concede any of your objections, but instead would like to set up a call to meet and
confer regarding the subpoena and your response. Please let us know your availability for such a call next week or the
week after.



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From: Stern, David [mailto:David.Stern@dechert.com]
Sent: Friday, November 22, 2019 2:36 PM
To: Gottlieb, Michael <MGottlieb@willkie.com>; English, Andrew <AEnglish@willkie.com>
Cc: Joe Terry (jterry@wc.com) <jterry@wc.com>; Spjute, Alex <Alex.Spjute@dechert.com>
Subject: Aaron Rich Subpoena

Counsel,

Please find attached a courtesy copy of Ms. Zimmerman’s Responses and Objections to Mr. Rich’s
subpoena. We are working to review and produce Ms. Zimmerman’s documents, together with Fox,
which are being reviewed for privilege.




David H. Stern
Partner

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